           Case 1:11-cr-00076-JRH-BKE Document 87 Filed 11/03/17 Page 1 of 2




                                  United States District Court

                                                    for the
                                  Southern District of Georgia
                                       Augusta Division
United States of America
                                                                          Case Number: 1:11CR00075-1
                                                                                           1:11CR00076-1


Lindell Antonio Givens, aka "Head"



                                                     ORDER


       On July 14, 2017, the probation officer of this Court filed a petition to show cause why Givens'

supervision should be revoked.      The petition alleged that Lindell Antonio Givens committed the

offenses of violation of a beginner's permit on October 11, 2016, and having an open container of beer

in a motor vehicle on April 29, 2017; failed to refrain from any unlawful use of marihuana on October

14, 2016, and June 26, 2017; failed to report to the probation officer as directed on May 15, 2017; failed

to participate in a program for drug and alcohol abuse by failing to report for drug testing on six separate

occasions; and committed curfew violations on April 29, 2017, and May 5, 2017. An addendum to the

original petition was filed on July 24, 2017, further alleging that Givens failed to pay his special

assessment and fine in accordance with the schedule of payments established by the Court.

       The supervised release revocation hearing was conducted on November 2, 2017. Givens, through

his attorney, stipulated to the alleged violations outlined in the petition and addendum. The Court found

that Givens had violated his terms and conditions of supervised release as alleged in the petition and

addendum; however, the Court decided to continue the matter for six months. In essence, the Court

delayed the final resolution of this matter until it is determined if Givens is going to remain drug free,

employed, and otherwise successful on supervision.
           Case 1:11-cr-00076-JRH-BKE Document 87 Filed 11/03/17 Page 2 of 2
Lindell Antonio Givens, aka "Head"
Case Number: 1:11CR00075-1
               1:11CR00076-1


       The Court directs that Givens be continued at this time on supervised release with the following

additional conditions:


1.     You must participate in a substance abuse treatment program and follow the rules and

       regulations of that program. The probation officer will supervise your participation in the

       program. You must pay the costs of treatment in an amount to be determined by the probation

       officer, based on your ability to pay or availability of third-party payment.

2.     You will be monitored by location monitoring technology at the discretion of the probation

       officer for a period of 3 months, and you must follow the rules and regulations of the location

       monitoring program. You must pay for the costs of monitoring.

All other conditions of supervision previously imposed by this Court on November 17, 2011, shall

remain in full force and effect.


       SO ORDERED this ^>              day ofNovember, 2017.



                                              J. Rtet&AL HALL, CHIEF JUDGE
                                              UNITED/TATES DISTRICT COURT
                                                       iRN DISTRICT OF GEORGIA
